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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 SIMPLY BRIGHT IDEAS, INC.,

             Plaintiff,                       Case No. 2:19-cv-11718
                                              District Judge Paul D. Borman
 v.                                           Magistrate Judge Anthony P. Patti

 WORTH INVESTMENT
 GROUP, LLC, et al.,

           Defendants.
_________________________/

ORDER VACATING THE COURT’S ORDER TO SHOW CAUSE (ECF No.
34), AND GRANTING IN PART AND DENYING IN PART DEFENDANTS’
  MOTION TO COMPEL DISCOVERY (ECF No. 30) AND PLANTIFF’S
          MOTION TO COMPEL DISCOVERY (ECF No. 31)

      This matter came before the Court for consideration of: (1) Plaintiff’s

motion for an order to show cause against non-party Makers Company, Inc. (ECF

No. 32) and the Court’s subsequent show cause order (ECF No. 34); (2)

Defendants’ motion to compel discovery (ECF No. 30), Plaintiff’s response in

opposition (ECF No. 37), Defendants’ reply (ECF No. 39), and the parties’ joint

lists of unresolved issues (ECF Nos. 41 & 42); and (3) Plaintiff’s motion to compel

discovery (ECF No. 31), Defendants’ response in opposition (ECF No. 36), and the

parties’ joint lists of unresolved issues (ECF Nos. 41 & 42). Judge Borman

referred these motions to me for a hearing and determination. (ECF No. 33.) As a

result of the COVID-19 pandemic, a hearing was held via Zoom technology on
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October 14, 2020, at which counsel for the parties and a non-attorney

representative from non-party Makers Company, Inc. appeared, and the Court

entertained oral argument regarding the motions.

      Upon consideration of the motion papers and oral argument, and for all of

the reasons stated on the record by the Court, which are hereby incorporated by

reference as though fully restated herein, the Court VACATES its order to show

cause (ECF No. 34), as Plaintiff has filed no proof that it served the subject

subpoena upon non-party Makers Company, Inc., and GRANTS IN PART and

DENIES IN PART each motion to compel (ECF Nos. 30 & 31) as follows:

       The Court finds that the relevant time period for the discovery at
        issue in each motion is October 4, 2011 to February 28, 2019, and
        limits all discovery ordered herein to that time period.

       Interrogatory No. 19 of Defendants’ First Set of Interrogatories
        and Requests for Production: The Court finds Interrogatory No. 19
        to be overbroad, but orders that Plaintiff SUPPLEMENT its
        response, limited to the relevant time period listed above, as well
        as to the definition of “products” and the defined territories
        contained in the Agreement at issue (see ECF No. 18-2,
        PageID.175). However, Defendants may explore the topic raised
        in Interrogatory No. 19 without these limitations at the upcoming
        deposition of Plaintiff’s principal, in order to explore his
        background.

       Interrogatory Nos. 20-23 of Defendants’ First Set of
        Interrogatories and Requests for Production: The Court
        OVERRULES Plaintiff’s objections to each based on relevancy,
        in light of Defendants’ affirmative defenses of unclean hands and
        material breach of contract, and in light of the Agreement’s
        requirement that Plaintiff use ethical business practices. Thus, the
        Court orders that Plaintiff SUPPLEMENT its responses to
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         Interrogatory Nos. 20, 21, 22, and 23, limited to the relevant time
         period listed above.

       Interrogatory Nos. 24 and 25 of Defendants’ First Set of
        Interrogatories and Requests for Production: The Court orders that
        Plaintiff RESPOND to Interrogatory Nos. 24 and 25, limited to the
        relevant time period listed above and to the territories identified in
        the Agreement at issue (see ECF No. 18-2, PageID.175).

       Interrogatory No. 26 of Defendants’ First Set of Interrogatories
        and Requests for Production: The Court orders that Plaintiff
        RESPOND to Interrogatory No. 26 by providing a breakdown of
        compensation as described therein to the extent possible.

       Requests to Produce Nos. 1 and 2 of Defendants’ First Set of
        Interrogatories and Requests for Production: If Plaintiff identifies
        documents responsive to Requests to Produce Nos. 1 and 2 in the
        course of responding or supplementing its responses to the above
        Interrogatories, it shall PRODUCE those documents.

       Requests to Produce Nos. 9 and 10 of Plaintiff’s First Set of
        Discovery Requests (see ECF No. 31-4): The Court SUSTAINS
        IN PART Defendants’ objection that Request to Produce Nos. 9
        and 10 are overbroad. Thus, the Court orders that Defendants
        SUPPLEMENT their responses to Requests to Produce Nos. 9
        and 10 and PRODUCE Qualite Sales Orders, Qualite Order
        Forms, Qualite Quotations, and e-mails or other communications
        with StessCrete, Valmont, Baldwin, and Makers Sales for poles or
        other equipment quoted for jobs, bids, or opportunities, limited to
        the relevant time period listed above, and to the territories listed in
        the Agreement at issue (see ECF No. 18-2, PageID.175; ECF No.
        31-4, PageID.566, 593-595). This ruling is without prejudice to
        Plaintiff seeking more information if it later obtains a favorable
        ruling on the issue of whether the contract provided Plaintiff with
        the exclusive right to sell Qualite Sports Lighting, LLC Products in
        the defined territory, as raised in Defendants’ motion for partial
        summary judgment (ECF No. 18); however, the Court does not
        promise that any more discovery will be permitted, as all such
        requests would still be subject to the requirements of

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         discoverability and proportionality set forth in Fed. R. Civ. P.
         26(b)(1).

       Requests to Produce Nos. 9-13 of Plaintiff’s Second Set of
        Discovery Requests (see ECF No. 31-5): The Court SUSTAINS
        IN PART Defendants’ objections based on proportionality.
        However, the Court orders that Defendants SUPPLEMENT their
        responses and PRODUCE the documents requested in Requests to
        Produce Nos. 9, 10, 11, 12, and 13, limited to the relevant time
        period listed above.

       Requests to Produce Nos. 14 and 15 of Plaintiff’s Second Set of
        Discovery Requests (see ECF No. 31-5): Requests to Produce Nos.
        14 and 15 have been WITHDRAWN.

      The parties must fully comply with this Order by Wednesday October 28,

2020, and all depositions must be completed prior to mediation, which is currently

scheduled for November 19, 2020. Finally, the Court awards no costs, neither

party having prevailed in full. See Fed. R. Civ. P. 37(a)(5)(C).

   IT IS SO ORDERED.

Dated: October 16, 2020                ______________________
                                       Anthony P. Patti
                                       UNITED STATES MAGISTRATE JUDGE




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